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                        UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF CALIFORNIA


                                    MEMORANDUM



Honorable Morrison C. England, Jr.            RE: Tammy Rena Brown
Chief United States District Judge                Docket Number: 0972 2:11CR00327-005
Sacramento, California                            PERMISSION FOR DISCLOSURE OF
                                                  INFORMATION PURSUANT TO
                                                  LOCAL RULE 460(b) AND/OR 461(b)

Your Honor:


The Sacramento County Coroner’s Office is seeking the disclosure of confidential records
maintained by the probation office. Ms. Brown passed away on Sunday, April 3, 2016. It appears
she died of natural causes; however, the Coroner’s office is requesting information related to her
drug screenings and medications to rule out anything else.


Specific Records Requested: Drug test results.


Purpose/Need for Release of Information: To further investigate the decedent’s cause of death.


Conviction and Sentencing Date: On December 7, 2012, Tammy Rena Brown was sentenced
for the offense of Misprison of a Felony


Sentence Imposed: 36 months BOP and one year TSR


Response to Supervision: No positive drug tests while on supervision.


Recommendation:       The probation officer recommends that the Court allow the officer to
respond that the offender was on drug testing. Further, from September 2015, until her death, she
submitted no positive drug tests.




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                                                                                       REV. 07/2015
                                                         PERMISSION OF DISCLOSURE_COURT MEMO.DOTX
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RE:      Tammy Rena Brown
         Docket Number: 0972 2:11CR00327-005
         PERMISSION FOR DISCLOSURE OF INFORMATION
         PURSUANT TO LOCAL RULE 460(b) AND/OR 461(b)


                                     Respectfully submitted,


                                     /s/ Karen Y. Lucero
                                       Karen Y. Lucero
                                United States Probation Officer

Dated:    April 11, 2016
          Sacramento, California


                             /s/ George A. Vidales
REVIEWED BY:            George A. Vidales
                        Supervising United States Probation Officer




                                 ORDER OF THE COURT

          ☒     Approved         ☐       Disapproved


Dated: April 13, 2016




                                                 2
                                                                                        REV. 07/2015
                                                         PERMISSION FOR DISCLOSURE_COURT MEMO.DOTX
